Case 2:10-cr-20235-DPH-RSW ECF No. 140, PageID.587 Filed 02/22/11 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                     Case No. 10-20235
v.
                                                     HONORABLE DENISE PAGE HOOD
ALEXIS RODGERS (D-5),

      Defendant.
_____________________________________/


       ORDER DENYING MOTION FOR RECONSIDERATION OF COURT’S
     ORDER DENYING MOTION FOR REVOCATION OF DETENTION ORDER


       On January 13, 2011, the Court entered an Order Denying Motion for Revocation of

Detention Order filed by Defendant Alexis Redd Rodgers. The Court held an evidentiary hearing

on the matter and the Court denied the motion on the record. Defendant Rodgers submitted

supplemental documents after the hearing.

       Motions in criminal cases are governed by Local Rule 7.1 of the Local Rules of the Eastern

District of Michigan governing motions in civil cases. LCrR 12.1(a). Local Rule 7.1 provides that

any motion for reconsideration must be filed within 14 days after entry of the judgment or order.

E.D. Mich. LR 7.1(h)(1). No response to the motion and no oral argument thereon shall be allowed

unless the Court Orders otherwise. E.D. Mich. LR 7.1(h)(2). The Local Rule further states:

               (3) Grounds. Generally, and without restricting the court’s
               discretion, the court will not grant motions for rehearing or
               reconsideration that merely present the same issues ruled upon by the
               court, either expressly or by reasonable implication. The movant
               must not only demonstrate a palpable defect by which the court and
               the parties and other persons entitled to be heard on the motion have
               been misled but also show that correcting the defect will result in a
Case 2:10-cr-20235-DPH-RSW ECF No. 140, PageID.588 Filed 02/22/11 Page 2 of 3




               different disposition of the case.

E.D. Mich. LR 7.1(h)(3). A motion for reconsideration is not a vehicle to re-hash old arguments,

or to proffer new arguments or evidence that the movant could have brought up earlier. Sault Ste.

Marie Tribe v. Engler, 146 F.3d 367, 374 (6th Cir. 1998)(motions under Fed.R.Civ.P. 59(e) “are

aimed at re consideration, not initial consideration”)(citing FDIC v. World Universal Inc., 978 F.2d

10, 16 (1st Cir.1992)).

       Defendant Rodgers’ Motion for Reconsideration seeks to present evidence and testimony

to rebut the presumption of detention. As noted by the Sixth Circuit, a motion for reconsideration

is not a vehicle to proffer new arguments or evidence which the movant could have raised at the

hearing. Sault Ste. Marie, 146 F.3d at 374. Here, an evidentiary hearing was held on Defendant

Rodgers’ initial motion. The Court later allowed Defendant Rodgers to supplement his motion. The

time to proffer evidence to support his motion was during the evidentiary hearing. Defendant

Rodgers’ counsel cross-examined the witnesses presented by the Government. Defendant Rodgers’

Motion for Reconsideration merely presents the same issues ruled upon by the Court, either

expressly or by reasonable implication. Defendant Rodgers has failed to demonstrate a palpable

defect by which the Court and the parties and other persons entitled to be heard on the motion have

been misled. Defendant Rodgers has failed to show that correcting the defect will result in a

different disposition of the case.




                                                    2
Case 2:10-cr-20235-DPH-RSW ECF No. 140, PageID.589 Filed 02/22/11 Page 3 of 3




       Accordingly,

       IT IS ORDERED that Defendant Alexis Rodgers’ Motion for Reconsideration (No. 135,

filed February 1, 2011) is DENIED.




                                              s/Denise Page Hood
                                              Denise Page Hood
                                              UNITED STATES DISTRICT JUDGE


Dated: February 22, 2011


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record on this
date, February 22, 2011, by electronic and/or ordinary mail.


                                              s/LaShawn R. Saulsberry
                                              Relief Case Manager, (313) 234-5165




                                                 3
